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                                                                                 2017 Dec-28 AM 09:57
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         (SOUTHERN DIVISION)

JAMES WALTHALL,                       )
                                      )
      PLAINTIFF,                      )
                                      )
V.                                    )             CIVIL ACTION NO.:
                                      )
EQUIFAX INFORMATION                   )             2:17-cv-01095-KOB
SERVICES, INC., ET AL.,               )
                                      )
      DEFENDANTS.                     )

                           NOTICE OF SETTLEMENT

      Plaintiff James Walthall (“Plaintiff”) hereby notifies the court that Plaintiff

and Defendant TransUnion LLC (“Trans Union”) (ONLY) have reached a settlement

in principal and are in the process of consummating the terms of the settlement

agreement. Plaintiff expects to file a dismissal with prejudice of Trans Union on or

before January 26, 2018.

      Plaintiff’s claims against the remaining defendants remain before the court.

                                Respectfully submitted,

                                /s/ Micah S. Adkins
                                Micah S. Adkins (ASB-8639-I48A)
                                THE ADKINS FIRM, P.C.
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                                Counsel for Plaintiff

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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 28, 2017, I filed the foregoing paper using
the CMECF System, which will send electronic notification of the same to the
following counsel of record:

L. Jackson Young, Jr.                       Kirkland E. Reid
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                         /s/ Micah S. Adkins
                         Micah S. Adkins




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